Case 6:18-cv-00501-RRS-CBW Document 18 Filed 06/04/18 Page 1 of 22 PagelID #: 289

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA
LAFAYETTE DIVISION

JOHN THIBODEAUX, AMY CIVIL ACTION
THIBODEAUX, GABRIELLE

THIBODEAUX, AND EMILY

THIBODEAUX NO. 6:18-CV-00501-

UDJ-CBW
VERSUS

J.M. DRILLING, LLC., ADMIRAL
INSURANCE COMPANY, ROCKHILL
INSURANCE COMPANY, AND
BELLSOUTH TELECOMMUNICATIONS ,

 

 

 

LLC
OPPOSITION TO MOTION TO TRANSFER
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OPPOSITION TO MOTION TO TRANSFER
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BELLSOUTH TELECOMMUNICATIONS, LLC

 

OPPOSITION TO MOTION TO TRANSFER
Now into Court, through undersigned counsel, comes
Plaintiffs, John Thibodeaux, Amy Thibodeaux, Gabrielle Thibodeaux,
and Emily Thibodeaux, who, in response to Motion to Transfer filed
by Rockhill Insurance Company, respectfully aver as follows:
I. SUMMARY OF ARGUMENTS
1. Tennessee court (first filed) has no jurisdiction over

Thibodeaux Plaintiffs and, therefore, cannot make any
determinations to transfer this case from Louisiana to

Tennessee;

2. There are “compelling circumstances” which provide
exception to application of first filed rule: Rockhill
(excess insurer) “raced to the courthouse” in Tennessee

knowing Thibodeaux Plaintiffs would file suit in
Louisiana once Judgment was obtained in Louisiana civil
damage case in an amount excess of J.M. Drilling’s
primary policy;

3. There is no “substantial overlap” regarding the parties
in these two pending actions and therefore the

 
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application of the first filed rule is not triggered
Since John Thibodeaux, Amy Thibodeaux, Gabrielle
Thibodeaux, Emily Thibodeaux, Admiral Insurance Company
(primary insurer for J.M. Drilling), and Bellsouth
Telecommunications (worker’s compensation insurer) are
not parties in the Tennessee action;

4, There is no “substantial overlap” regarding the issues
in these two pending actions and therefore the
application of the first filed rule is not triggered
since the Louisiana action involves different issues of
enforcement of the Louisiana jury verdict, Admiral
Insurance Company’s recovery of a portion of the defense
costs in the underlying Thibodeaux Plaintiffs’ state
damage suit, Rockhill’s duty to defend J.M. Drilling,
and Bellsouth’s intervention for recovery of substantial
indemnity and medical benefits paid to John Thibodeaux;

and

5. Tennessee action will be dismissed since Thibodeaux
Plaintiffs, who are necessary and indispensable parties
under Federal Rule of Civil Procedure 19, are not named

as parties.

II. BASIC FACTS

Plaintiff, John Thibodeaux, suffered injuries in an accident
in Lafayette Parish, Louisiana on June 9, 2015. Thibodeaux, his
wife (Amy) and two daughters (Gabrielle and Emily) filed suit in
the 15% Judicial District Court for the Parish of Lafayette,
Louisiana against J.M. Drilling in suit entitled “John Thibodeaux,
et al vs. Gulfgate Construction, et al”, Docket No. 2015-4167.

During discovery in that suit, all defendants were dismissed
via Motions for Summary Judgment on Liability except J.M. Drilling,

LLC. Prior to jury trial, Judge Jules Edwards granted Plaintiffs’

motions finding:

 
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1. J.M. Drilling 100% at fault for the accident; and
2. John Thibodeaux had no comparative fault.
Judge Jules Edwards, in granting Plaintiffs’ Motion for

Summary Judgment on Liability, found J.M. Drilling was at fault

for:
1. Negligently striking the underground sewer force main at
114 Meadow Gate in February 2015;
2. Negligently failing to contact the utility owner (Water
& Wastewater) to have the broken underground sewer force
main line fixed before continuing any further work; and
3. J.M. Drilling’s negligence caused the underground
void/cavern near AT & T PFP Box and AT & T Handhole 1
which, in turn, caused John Thibodeaux’s accident on
June 9, 2015.
Jury trial was held March 26-29, 2018 before Judge Edwards on
damages only. On March 29, 2018, the jury returned a verdict in

favor of Plaintiffs as follows:

JOHN THIBODEAUX

Loss of Household Services $90,000.00
Past Medical Expenses $77,183.00
Future Medical Expenses $500,000.00
Past Lost Wages . $205,935.00
Loss of Future Earning Capacity $2,275,000.00
Physical Pain & Suffering (past and future) $125,000.00
Mental Pain & Suffering (past and future) $120,000.00
Loss of Enjoyment of Life $20,000.00
Disability $125,000.00
TOTAL $3,538,118.00

 
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AMY THIBODEAUX
Loss of Consortium $150,000.00
GABRIELLE THIBODEAUX

 

Loss of Consortium $10,000.00
EMILY THIBODEAUX

Loss of Consortium SO

J.M. Drilling was insured through primary liability policy
($1,000,000.00) with Admiral Insurance Company and excess follow
form policy ($5,000,000.00) with Rockhill Insurance Company.
Admiral Insurance Company accepted coverage and retained Mel Biden
with the law firm of Rabalais & Hebert in Lafayette to represent
its insured, M1, Drilling.

Rockhill sent certified correspondence to its insured, J.M.
Drilling, on May 10, 2017 denying coverage for the Thibodeaux
accident and lawsuit. (See Exhibit 1-A). In the months and weeks
leading up to the March 2018 jury trial, Plaintiffs made several
demands upon Rockhill to accept coverage and enter into reasonable
settlement negotiations. (See Exhibit 1-C,E,F,G,H). Plaintiffs
placed Rockhill on notice that litigation would be filed against
Rockhill once Plaintiffs obtained a judgment in excess of Admiral’s
primary policy limits ($1,000,000.00). Three weeks before the
state court jury trial, Rockhill advised that it had retained
Lafayette attorney, Doug Gatz, to “monitor” the state court

lawsuit/trial. (See Exhibit 1-I). At no time did Rockhill advise

 
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it intended to file a Declaratory Judgment against its insured,
J.M. Drilling, in Tennessee.

Just days before the state court jury trial in Lafayette,
Louisiana, Rockhill, without prior notice, filed a Declaratory
Judgment suit only against its insured, J.M. Drilling, in United
States District Court for the Eastern District of Tennessee,
Rockhill did not name the Thibodeaux Plaintiffs as parties in the
Tennessee action, nor did Rockhill name Admiral (primary insurer
for J.M. Drilling) and/or Bellsouth (worker’s compensation insurer
for John Thibodeaux’s employer who filed Intervention in
Lafayette, Louisiana suit). Rockhill’s Declaratory Judgment
Action in Tennessee is attached hereto as Exhibit 2.

Once Plaintiffs obtained Judgment against J.M. Drilling in
excess of Admiral’s primary policy, Plaintiffs filed this
Declaratory Judgment suit against all necessary and indispensable
parties before this Honorable Court. Plaintiffs did not have
“standing” to bring this Declaratory Judgment suit until there was
an executed Judgment for an amount in excess of Admiral’s
$1,000,000 primary policy.

III. LAW AND ARGUMENT
A, TENNESSEE HAS NO JURISDICTION OVER THIBODEAUX PLAINTIFFS

Rockhill is requesting this Court to transfer this suit to

Tennessee, which has no jurisdiction over the Thibodeaux

Plaintiffs. The Thibodeaux Plaintiffs assert that the Tennessee

 
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court cannot make any determinations to transfer this suit to
Tennessee since Tennessee has no jurisdiction over the Thibodeaux
Plaintiffs.

The Affidavit of John Thibodeaux attached hereto as Exhibit

3 establishes the following important facts:

1. Thibodeaux Plaintiffs are life-long residents of south
Louisiana,

2. Thibodeaux Plaintiffs do now own any movable and/or
immovable property in Tennessee,

3. Thibodeaux Plaintiffs have never conducted any type of
business in Tennessee, and

4, Thibodeaux Plaintiffs have never been to Tennessee
and/or do not have regular contacts within the state of
Tennessee.

Whether the first filed court has jurisdiction over the
Thibodeaux Plaintiffs is a factor to consider in applying the first
to file rule. The Cadle Company v. Whataburger of Alice, Inc.,
174 F.3d 599 (5% Cir. 1999). The second filed court can determine
the first filed rule does not apply because of jurisdictional

issues. United States v. Costello, 809 F.Supp. 56 (E.D. Wi. 1992).

 

In Costello, the second filed court refused to stay the
proceedings in Wisconsin because of first filed suit in Minnesota.
First, the court noted the issues and parties in the Minnesota
action and Wisconsin action were similar, but not identical.

Second, the court stated that Minnesota did not have jurisdiction

 
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over a necessary and indispensable party. Importantly, the second
filed court did not apply the first to file rule because:
“Only this court can provide adequate relief to all
parties because only this court has jurisdiction over

all person’s necessary for the resolution of this
litigation.”

United States v. Costello, 809 F.Supp. at 58.

 

Similar to Costello, the parties and issues are not the same
in the Tennessee action and Louisiana action, and most importantly
the Tennessee Court does not have personal jurisdiction over the
necessary and indispensable parties, while this Court does have
personal jurisdiction over ALL such parties.

In Texas Association of Realtors, Inc. v. PDFiller, Inc., No.
A-16-CA-1304-SS (W.D. TX 8/31/2017), the second filed court did
not apply the first to file rule where the parties were different
in the two suits, and, further, there were issues of whether the
missing parties in the first filed suit could be made parties due
to jurisdictional issues, citing, Save Power Ltd. v. Syntek Fin.
Corp., 121 F.3d 947 (5 Cir. 1997). Plaintiffs attach Texas

Association of Realtors as Exhibit 4 to this Opposition Memorandum.

 

Rockhill wants the Tennessee court to make the final decision
on whether this Louisiana action should be transferred to
Tennessee. But, a transfer cannot be granted when the district
court does not have jurisdiction over the relevant parties.

Pittock v. Otis Elevator Company, 8 F.3d 325 (6 Cir. 1993).

 
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Plaintiffs respectfully submit this case must remain with this
court since the district court in Tennessee cannot make any ruling
to transfer this case since it has no jurisdiction over the
Thibodeaux Plaintiffs.
B. NO SUBSTANTIAL OVERLAP OF PARTIES AND ISSUES

Under the first to file rule, when related cases are pending
before two federal courts, the court in which the case was last
filed may refuse to hear it if the issues raised by the cases
substantially overlap. The Cadle Co. v. Whataburger of Alice,

Inc., 174 F.2d 603 (5 Cir. 1999). The first to file rule is only

 

applicable if there is “substantial overlap” in issues and parties.
Save Power Ltd. v. Syntek Fin. Corp., 121 F.3d 947 (5 Cir. 1997).

There is no “substantial overlap” in parties between the
Tennessee and Louisiana actions. In Tennessee, only J.M. Drilling
(insured) is named as a defendant. The following Louisiana parties
are not named in the Tennessee action: John Thibodeaux, Amy
Thibodeaux, Gabrielle Thibodeaux, Emily Thibodeaux, Admiral

Insurance Company (primary insurer to J.M. Drilling) and Bellsouth

Telecommunications (worker’s compensation insurer for . John
Thibodeaux).
There are also different issues in Louisiana action. In

Louisiana, Thibodeaux Plaintiffs are, in essence, requesting
payment of state court judgment in excess of $4,000,000.00 (with

legal interest). Further, it is anticipated that Admiral Insurance

 
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Company will seek reimbursement for a portion of defense costs in
the underlying state court damage case. Further, the Louisiana
action deals with Rockhill’s duty to defend its insured, J.M.
Drilling, and payment of Bellsouth’s Intervention/Cross Claim
regarding substantial worker’s compensation indemnity and medical
expenses paid to John Thibodeaux.

Therefore, Plaintiffs respectfully assert the first filed
rule is not triggered and does not apply since there is no
“substantial overlap” between the parties and issues in the
Tennessee and Louisiana actions.

C. COMPELLING CIRCUMSTANCES EXCEPTION TO FIRST FILE RULE

The Fifth Circuit generally follows the “first to file” rule
in avoiding duplicative lawsuits filed in federal district courts.
Save Power Ltd. v. Syntek Finance Corp., 121 G.3d 947 (5 Cir.
1997). However, that rule is not adhered to where compelling
circumstances dictate the first action be dismissed rather than
the second. Johnson Bros. Corp. v. International Brotherhood of
Painters, 861 F.Supp.28 (M.D. La. 1994), Stack v. Whitney National
Bank, 789 F.Supp. 753 (S.D. Miss. 1991), aff’d without op., 958
F.2d 1078 (5 Cir. 1992).

There are two red flags that indicate the presence of
compelling circumstances justifying the non-application of the
first to file rule. Northwest Airlines v. American Airlines, 989

F.2d 1002 (8 Cir. 1993). First, whether the “first” lawsuit was

 
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filed in anticipation of suit in another forum. Id; Anheuser Busch

Inc. v. Supreme Intel. Corp., 167 F.3d 417 (8 Cir. 1999). Second,

 

whether the “first” action was for declaratory relief rather than
for damages or equitable relief. Boatmen’s First National Bank of
Kansas City v. Kansas City Public Employees Retirement System, 57
F.3d 638 (8 Cir. 1995).

In 909 Corp. v. Bolingbrook Police Pension Fund, 741 F.Supp.
1290 (S.D. Tex. 1990), the court found compelling circumstances to
overcome the first to file rule where the first filed action was
for declaratory relief. The court noted that declaratory judgment
should be dismissed if it was filed for the purposes of
anticipating a trial of the same issues in a court of competent
jurisdiction. The court’s rationale was that the court cannot
allow a party to secure a more favorable forum by filing an action
for declaratory action when it has notice that the other party
intends to file suit involving the same issues in a different
forum.

Allowing a second filed suit to prevail over the first filed
declaratory action is based on the rule, not that declaratory
judgments are disfavored, but that actions brought purely in
anticipation of another action are disfavored. Johnson Bros. Corp.
v. International Brotherhood of Painters, supra; Stack v. Whitney

National Bank, supra. The court must determine if the plaintiff

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in the first filed suit filed the action as a “race to the
courthouse.” 909 Corp. v. Bolingbrook Police Pension Fund, supra.

Courts take a dim view of declaratory plaintiffs who file
their suit mere days or weeks before the coercive suits filed by
a natural plaintiff and who seem to do so for the purposes of
acquiring a favorable forum. AmSouth Bank v. Dale, 386 F.3d 763
(6°? Cir. 2004). The Declaratory Judgment Act is not a tactical
device whereby a party who would be a defendant in a coercive
action may choose to be a plaintiff by winning the race to the

courthouse. NGS AM., v. Jefferson, 218 F.3d 519 (6 Cir. 2000).

 

Courts have disallowed this type of “procedural fencing”
because it could frustrate a plaintiff’s choice of forum and
encourage forum shopping, races to the courthouse, needless
litigation occasioning waste of judicial resources, delay in
resolution of controversies, and misuse of judicial process to
harass an opponent in litigation. BASF Corp. v. Symington, 50
F.3d 555 (8 Cir. 1995). Declaratory actions founded exclusively
on a defense to a state law claim should be dismissed as a tactical
maneuver calculated to deny potential plaintiffs of their
traditional right to choose the forum and time of suit. Tempco
Elec. Heater Corp. v. Omega Eng’g, Inc., 819 F.2d 746 (7 Cir.
1987).

In the present case, Plaintiffs sent correspondences to

Rockhill on November 6, 2017 and November 28, 2017 advising:

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(1) Of jury trial date of March 26, 2018,

(2) That liability was clear against its insured, J.M.
Drilling,

(3) Plaintiffs’ damages were several million dollars in
excess of Admiral’s $1,000,000.00 primary policy, and

(4) Placing Rockhill on Notice that there would be

litigation by Plaintiffs against Rockhill after Judgment
with excess liability on J.M. Drilling. (See Exhibit

1).

On January 10, 2018, Plaintiffs sent a demand letter to J.M.
Drilling and Rockhill with settlement demand of $6,000,000.00. At
that point, J.M. Drilling was the only remaining defendant since
Louisiana Third Circuit Court of Appeals had upheld Judge Edwards’
granting Summary Judgment in favor of Gulfgate Construction and
Water & Wastewater. (See Exhibit 1- C,E).

On February 21 and 23, 2018, Plaintiffs sent correspondences
to Rockhill asserting there was coverage under the excess policy
and made repeated requests for Rockhill to enter into reasonable
settlement negotiations. Plaintiffs also advised that Judge
Edwards granted Summary Judgment finding that J.M. Drilling was
100% at fault and that John Thibodeaux had no comparative fault.
Plaintiffs informed Rockhill that the Louisiana Supreme Court had
denied J.M. Drilling’s writ application regarding dismissal of
Gulfgate Construction. Plaintiffs also advised the jury trial was
going forward as a first fixing on March 26, 2018 and that J.M.

Drilling was the sole, remaining defendant. (See Exhibit 1-G,H).

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On March 7, 2018, less than three weeks before the state court
jury trial, J.M. Drilling’s counsel sent copy of e-mails from
Rockhill where Rockhill advised that it had retained Lafayette
attorney, Doug Gatz, to “monitor” the Lafayette suit. (See Exhibit
1-I). At that point, Rockhill knew the March 26, 2018 state court
jury trial was going forward as a “damages only” trial. Rockhill
also had knowledge that its insured, J.M. Drilling, was the sole,
remaining defendant and that Plaintiffs’ claims were well beyond
Admiral’s primary policy limits.

Rockhill engaged in “procedural fencing” and “race to the
courthouse” by filing Declaratory Action in Tennessee only against
its insured, J.M. Drilling, only days before the Thibodeaux state
court lawsuit would proceed on the merits in Lafayette, Louisiana.
Plaintiffs repeatedly placed Rockhill on notice that litigation
would follow against it once Plaintiffs obtained Judgment in the
Lafayette suit. Plaintiffs’ Declaratory Action is in the same
State (Louisiana) and Parish (Lafayette) where the Thibodeaux
Plaintiffs’ state court lawsuit was held. Further, Plaintiffs’
Declaratory Action in this Court is more than Declaratory, ie, a
finding of coverage would force Rockhill to have to pay the
Lafayette judgment.

D. 1404 FACTORS AND BRAINTREE CASES
Exceptions to the first-filed rule apply when 28 U.S.C.A. §

1404 factors weigh in favor of giving priority to the second

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action. United States Risk Management v. U.S. Risk Insurance
Group, Inc., 2012 WL 13001312 (E.D. La. 1/25/2012). Section
1404(a) states the rules for determining the priority of transfer
to another district court. Convenience factors include
convenience of witnesses and evidence. Id. The convenience of
witnesses is probably the most important factor to be consider
under Section 1404 (a). Boateng v. General Dynamics Corp., 460
F.Supp.2d 270 (D. Mass. 2006).

The Braintree cases are insightful of how Section 1404 is
applied as exception to first filed rule. The Braintree cases are
attached hereto as Exhibit 5.

In Braintree Laboratories, Inc. v. Bedrock Logistics, LILC.,
No. 16-11936-IT (D.C. Mass. 12/8/2016), the court in the second
filed suit in Massachusetts found that the first filed rule did
not apply when the first filed suit in Texas was a “race to the
courthouse” and “procedural fencing.” The court in the second
filed suit found it was better suited to hear the case since key
witnesses and documents were in that state. Subsequently, the
court in the first filed suit in Texas transferred the case to
Massachusetts based on Section 1404. Bedrock Logistics, LLC. v.
Braintree Laboratories, Ince., No. 3:16-cv-2815-M (N.D. Tex.
4/28/2017).

Plaintiffs assert that all the witnesses and evidence crucial

as to how the accident happened and liability (coverage

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determination) are in Louisiana, not Tennessee. All of the
witnesses that Plaintiffs requested trial subpoenas for the March
26, 2018 jury trial were in Louisiana. (See Exhibit 1-K). The
only connection with Tennessee is that is where Rockhill Insurance
Company delivered its excess policy to J.M. Drilling. But, the
accident happened in Louisiana, the Plaintiffs reside in
Louisiana, the damages occurred in Louisiana, and the facts,
evidence, and relevant witnesses regarding the underlying
liability/coverage issues at the heart of this Declaratory Actions
are ALL in Louisiana.

E. DISMISSAL OF TENNESSEE SUIT UNDER FED. R. CIV. P. 12(B) (7)

Rockhill was aware that Plaintiffs’ state court suit was going
forward against its insured, J.M. Drilling, at the 15 Judicial
District Court in Lafayette on March 26, 2018. Plaintiffs made
clear to Rockhill that Plaintiffs’ damages were well in excess of
Admiral’s $1,000,000 policy limits. On March 29, 2018, the jury
returned a total verdict against J.M. Drilling for $3,698,118.00
plus legal interest.

Rockhill “rushed to the courthouse” in Tennessee to file a
Declaratory Judgment action against its insured, J.M. Drilling,
only. Only days after that filing, Plaintiffs obtained a jury
verdict and signed Judgment of $$3,698,118.00 plus legal interst
against Rockhill’s insured, J.M. Drilling. Clearly, Plaintiffs

have a significant interest in the Rockhill coverage issue.

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Federal Rule of Civil Procedure, 12 (b) (7) authorizes a
motion to dismiss for failure to join required parties in
accordance with Rule 19. A party is indispensable under Federal
Rule of Civil Procedure Rule 19 if, as a matter of equity, the
court finds that the lawsuit cannot proceed without the absent
party.

In Ranger Insurance Company v. United Housing of New Mexico,
Inc., 488 F.2d 682 (5° Cir. 1974), the fifth circuit held that
insurer, insured, and any third party with a claim against the
insured are all indispensable parties in a declaratory judgment
action. See also Continental Cas. Co. v. TLC Services, Inc., No.
14-1124, 2014 WL 7239329 (E.D. La. 2014) [third party claimants
are proper parties to declaratory judgment actions because they
would be prejudiced if not joined]; Alonzo v. State, No. 02-2792,
2002 WL 31654918 (E.D. La. 2002) [the claimant, insured, and the
insurer are all indispensable parties in actions which seek to
determine whether an insurer is liable for judgments rendered
against its insured in favor of a claimant].

J.M. Drilling has filed a Motion to Dismiss the Tennessee
action since Rockhill did not and could not (jurisdiction issues)
name Thibodeaux Plaintiffs as parties to that suit. J.M. Drilling
has also filed a Motion to Transfer Tennessee action to this court
in Louisiana. Please find J.M. Drilling’s Motions in Tennessee

suit attached hereto as Exhibit 6. Only this Louisiana court has

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jurisdiction over all the necessary and indispensable parties
(Thibodeaux Plaintiffs, the insured, J.M. Drilling, primary
insurer, Admiral, excess insurer, Rockhill, and worker’s
compensation insurer, Sedgwick).
IV. CONCLUSION

For the foregoing reasons, Plaintiffs request that this
Honorable Court deny the Motion to Transfer and request to stay
filed by Rockhill Insurance Company. Further, Plaintiffs request

that all costs associated with Rockhill’s Motion to Transfer be

assessed against Rockhill Insurance Company.
AND FOR ALL OTHER GENERAL AND EQUITABLE RELIEF, ETC.
Respectfully Submitted By,

/s/ Edward O. Taulbee, IV

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CERTIFICATE

I hereby certify that a copy of the above and foregoing has
this day been electronically mailed to all counsel of record.

Lafayette, Louisiana, this day of June 2018.

/s/ Edward O. Taulbee
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